The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO  65101
Dear Secretary Cook:
You have submitted to us a statement of purpose prepared pursuant to Section 116.334, RSMo 1994. The statement which you have submitted is as follows:
      Shall Article I, Section 3 of the Constitution of Missouri be amended to provide that the people of this state have the inherent, sole and exclusive right to not be taxed without their consent, and further amended to provide that no state tax, license or fee increase shall take effect unless the same shall have been approved by a majority of the qualified voters of this state voting at a general or special election?
See our Opinion Letters Nos. 148-96 through 163-96.
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Under the provisions of Section 116.334, the approved statement of purpose, unless altered by a court, is the petition title for the measure circulated by the petition and the ballot title if the measure is placed on the ballot.
Sincerely,
                                  JEREMIAH W. (JAY) NIXON Attorney General